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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

LISA LEFRANCOIS                                JURY TRIAL DEMANDED

v.                                             CASE NO. 3:11 cv

ROSENTHAL, STEIN AND ASSOCIATES LLC
SHARISSE WILLIAMS

                                         COMPLAINT

       1. Plaintiff seeks relief pursuant to the Fair Debt Collection Practices Act ("FDCPA"),

l5 U.S.C. § 1692; or the Consumer Collection Agency Act, Conn. Gen. Stat. § 36a-800 and

regulations issued thereunder; or the Connecticut Unfair Trade Practices Act ("CUTPA"),

Conn. Gen. Stat. § 42-110a.

       2. The Court has jurisdiction. 15 U.S.C. § 1692k and 28 U.S.C. §133l and § 1367.

       3. Plaintiff is a natural person who has resided in Connecticut at all relevant times.

       4. Plaintiff is a consumer within the FDCPA.

       5. The corporate Defendant collects consumer debts through the use of the telephone

or mail.

       6. Defendant Sharisse Williams is the President of the corporate defendant and is

responsible for supervision and control of collectors and adopting the form letters and tactics

of the corporate defendant.

       7. Defendant ROSENTHAL, STEIN AND ASSOCIATES LLC (“Rosenthal”) has an

office at 2020 Howell Mill Rd # C-314, Atlanta GA 30318 which was not licensed as a

consumer collection agency in compliance with chapter 669 Part XII of the Connecticut

General Statutes when communicating in connection with efforts to collect plaintiff’s personal

disputed account allegedly owed to National Credit Adjusters, LLC.
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         8. Defendant’s employee “Gibson” called plaintiff, her family, and her in-laws

accusing her of fraud, causing plaintiff and others alarm.

         9. Despite specific request not to call plaintiff’s home, cell phone, family or friends,

Rosenthal continued to make such alarming calls.

         10. Defendant threatened suit if plaintiff did not pay.

         11. Defendant continued to call after notification dated May 18, 2011, that plaintiff was

represented by the undersigned.

         12. Defendant did not send plaintiff anything in writing within five days of the initial

communication as required by § 1692g,

         13. In the collection efforts, the defendants violated the FDCPA, § 1692e, -f(1), or –

g.

WHEREFORE plaintiff respectfully requests this Court to:

     1. Award plaintiff such damages as are permitted by law, both compensatory and punitive,

        including $1,000 statutory damages against each defendant under the FDCPA;

     2. Award the plaintiff costs of suit and a reasonable attorney's fee;

     3. Award such other and such further relief as law or equity may provide.

                                        THE PLAINTIFF




                                                BY____/s/ Joanne S. Faulkner___
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